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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                  Civil No. 1:14-cv-1611 (LO / JFA)
                v.

  COX COMMUNICATIONS, INC, et al.,

                        Defendants.


   DEFENDANTS’ MOTION TO RECONSIDER THE COURT’S ORDER GRANTING
                 PLAINTIFFS’ MOTION IN LIMINE NO. 3


        Defendants respectfully move this Court to reconsider its previous order granting

 Plaintiff’s Motion in Limine No. 3, which prohibited Cox and its experts from referring to the

 Copyright Alert System (“CAS”) and the practices of other internet service providers (“ISPs”) as

 evidence of how the industry responds to copyright infringement notices. (Dkt. No. 691).

 Defendants state the specific grounds for their motion in their accompanying Memorandum of

 Law in Support of Defendants’ Motion to Reconsider the Court’s Order Granting Plaintiffs’

 Motion in Limine No. 3.



 Dated: July 20, 2018                                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on July 20, 2018, a copy of the foregoing Defendants’ Motion to

 Reconsider the Court’s Order Granting Plaintiffs’ Motion in Limine No. 3 was filed

 electronically with the Clerk of Court using the ECF system which will send notifications to ECF

 participants.



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